Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 1 of 21 PageID #: 257




                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                         —WHEELING DIVISION—


DIANA MEY, individually and on behalf of
a proposed class,

                Plaintiff,

      v.
                                           Civil Action No. 5:23-cv-00046-JPB
LEVIN, PAPANTONIO, RAFFERTY,
PROCTOR, BUCHANAN, O’BRIEN,
BARR & MOUGEY P.A.; PRINCIPAL
LAW GROUP, LLC; MCM SERVICES
GROUP LLC; AND JOHN DOE
DEFENDANTS 1-5.

                Defendants.




   DEFENDANT LEVIN, PAPANTONIO, RAFFERTY, PROCTOR, BUCHANAN,
  O’BRIEN, BARR & MOUGEY P.A.’S REPLY IN SUPPORT OF ITS MOTION TO
                  DISMISS PLAINTIFF’S COMPLAINT
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 2 of 21 PageID #: 258


                                               TABLE OF CONTENTS

                                                                                                                                    Page


I.     INTRODUCTION ............................................................................................................. 1
II.    PLAINTIFF CANNOT SHOW LEVIN LAW IS VICARIOUSLY LIABLE. ................. 2
       A.        Plaintiff Fails to Plausibly Allege That Levin Law is Vicariously Liable
                 and Thus, Her TCPA Claim Fails On its Face. ...................................................... 3
       B.        Plaintiff Does Not Meet her Evidentiary Burden to Rebut Levin Law’s
                 Evidence in Support of its Factual Challenges to Personal Jurisdiction and
                 Article III Standing. ............................................................................................... 8
III.   THERE IS NO OTHER BASIS FOR PERSONAL JURISDICTION OVER
       LEVIN LAW. .................................................................................................................. 12
IV.    PLAINTIFF LACKS STANDING TO PURSUE HER CLAIM AGAINST
       LEVIN LAW. .................................................................................................................. 13
V.     PLAINTIFF’S TCPA CLAIM FAILS FOR ADDITIONAL REASONS. ...................... 14
       A.        Cell Phones Are Not Subject to the TCPA’s DNC Registry Provisions. ............ 14
       B.        Plaintiff Fails to Allege that She Used Her Phone for Residential Purposes....... 15
       C.        Plaintiff Fails to Allege That She Registered Her Phone on the DNC
                 Registry. ............................................................................................................... 15
VI.    CONCLUSION ................................................................................................................ 15




                                                                  -i-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 3 of 21 PageID #: 259


                                             TABLE OF AUTHORITIES

                                                                                                                             Page



                                                            CASES
Adams v. Bain,
   697 F.2d 1213 (4th Cir. 1982) ...................................................................................................3
Baccari v. Carguard Admin., Inc.,
   2022 WL 3213839 (E.D. Pa. Aug. 8, 2022) ........................................................................3, 13
Beck v. McDonald,
   848 F.3d 262 (4th Cir. 2017) .................................................................................................3, 9
Blaniar v. Sw. Energy Co.,
   2020 WL 12654265 (N.D.W. Va. Oct. 26, 2020) ................................................................8, 12
Callier v. SunPath Ltd.,
   2020 WL 10285659 (W.D. Tex. Aug. 10, 2020) .......................................................................4
Cobb v. Postmates, Inc.,
   2021 WL 2480109 (N.D. Ga. Mar. 8, 2021)..............................................................................6
Cunningham v. Daybreak Solar Power, LLC,
   2023 WL 3985245 (N.D. Tex. June 13, 2023) ..........................................................................4
Doane v. Benefytt Tech., Inc.,
   2023 WL 2465628 (D. Mass. Mar. 10, 2023) ........................................................................4, 5
Doyle v. GoHealth LLC,
   2023 WL 3984951 (D.N.J. Mar. 30, 2023)................................................................................4
Gaker v. Q3M Ins. Sols.,
   2023 WL 2472649 (W.D.N.C. Feb. 8, 2023) ....................................................................14, 15
In re Monitronics Int'l, Inc., TCPA Litig.,
    223 F. Supp. 3d 514 (N.D.W. Va. 2016) ......................................................................... passim
Jackson v. Caribbean Cruise Line, Inc.,
   88 F. Supp. 3d 129 (E.D.N.Y. 2015) .................................................................................4, 5, 7
Jackson v. Genuine Data Servs., LLC,
   2022 WL 256281 (E.D. Va. Jan. 26, 2022) .............................................................................11
Johansen v. HomeAdvisor, Inc.,
   218 F. Supp. 3d 577 (S.D. Ohio 2016) ....................................................................................10
Lipscomb v. Techs., Servs., & Info., Inc.,
   2011 WL 691605 (D. Md. Feb. 18, 2011) .................................................................................9
Melito v. Am. Eagle Outfitters, Inc.,
   2015 WL 7736547 (S.D.N.Y. Nov. 30, 2015) ...........................................................................6
Morgan v. U.S. Xpress, Inc.,
  2018 WL 3580775 (W.D. Va. July 25, 2018) ..........................................................................15


                                                               - ii -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 4 of 21 PageID #: 260


                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                   Page
Naiman v. TranzVia LLC,
   2017 WL 5992123 (N.D. Cal. Dec. 4, 2017) .......................................................................3, 11
New Venture Holdings, L.L.C. v. DeVito Verdi, Inc.,
   376 F. Supp. 3d 683 (E.D. Va. 2019) ......................................................................................13
Powers v. One Techs., LLC,
   2021 WL 3519282 (W.D.N.C. Aug. 10, 2021)..........................................................................3
Rogers v. Assurance IQ,
   2023 WL 2646468 (W.D. Wash. Mar. 27, 2023) ..................................................................4, 7
Rogers v. Postmates Inc.,
   2020 WL 3869191 (N.D. Cal. July 9, 2020) ..............................................................................4
Shaolian-Tehrani v. Khatami,
   2008 WL 1790386 (S.D.N.Y. Apr. 21, 2008)............................................................................9
Smith v. Direct Building Supplies, LLC,
   2021 WL 4623275 (E.D. Pa. Pct. 7, 2021) ................................................................................4
Smith v. Liberty Mut. Ins. Co.,
   2021 WL 1581017 (D. Mass. Apr. 22, 2021) ............................................................................4
Smith v. State Farm Mut. Auto. Ins. Co.,
   30 F. Supp. 3d 765 (N.D. Ill. 2014) ...........................................................................................6
Smith v. Vision Solar, LLC,
   2020 WL. 5632653 (E.D. Pa. Sept. 21, 2020) ...........................................................................4
Underwood v. IFA Holdings, LLC,
   2022 WL 2307738 (N.D. Ala. June 27, 2022) .........................................................................14
Williams v. Studivent,
   2010 WL 4273224 (M.D.N.C. Oct. 20, 2010) ...........................................................................3
Wince v. Easterbrooke Cellular Corp.,
   681 F. Supp. 2d 688 (N.D.W. Va. 2010) ...................................................................................8
                                                   OTHER AUTHORITIES
Restatement (Third) of Agency § 1.01 cmt. f(1) (2006) ..................................................................6
Restatement (Third) of Agency, § 2.01 (2006) ..............................................................................11
Restatement (Third) of Agency § 3.15 (2006) .................................................................................6
                                                                 RULES
Rule 12(b)(1) .......................................................................................................................... passim
Rule 12(b)(2) .......................................................................................................................... passim
Rule 12(b)(6) ........................................................................................................................1, 2, 3, 7




                                                                    - iii -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 5 of 21 PageID #: 261




I. INTRODUCTION

          As Plaintiff concedes, the dismissal of Plaintiff’s suit rests squarely on the issue of

whether Levin Law can be vicariously liable for the alleged calling activity of MCM Services

Group (“MCM”). But Plaintiff has not plausibly shown that Levin Law had “control” over the

“manner and means” of MCM’s alleged calling campaign. See, e.g., In re Monitronics Int'l, Inc.,

TCPA Litig., 223 F. Supp. 3d 514, 520 (N.D.W. Va. 2016) (Bailey, J.), aff’d sub nom. Hodgin v.

UTC Fire & Sec. Ams. Corp., Inc., 885 F.3d 243 (4th Cir. 2018); Dkt. 24 at 14–17 (collecting

cases).

          In the obvious absence of vicarious liability as to MCM, Plaintiff’s Opposition attempts a

runaround, arguing that Levin Law had an agency relationship with the Principal Law Group

(“PLG”) and that PLG had an agency relationship with MCM, and therefore Levin Law can be

held vicariously liable. See, e.g., Dkt. 28 at 14. But this argument fails from the outset because

Plaintiff does not allege any solicitation campaign by PLG, let alone that Levin Law had control

over the manner and means of any of PLG’s purported solicitations. Thus, Plaintiff’s TCPA

claim against Levin Law should be dismissed on the pleadings alone for lack of jurisdiction and

standing under Rules 12(b)(2) or 12(b)(1) and/or for failure to state a claim under Rule 12(b)(6).

          Because the pleading fails on its face, the Court need not consider the parties’ factual

evidence in regard to Levin Law’s factual jurisdictional challenges under Rules 12(b)(2) and

12(b)(1). Should it opt to do so, the evidence only shows that there is no viable vicarious liability

theory against Levin Law and that Levin Law must be dismissed because Levin Law did not, in

fact, control the “manner and means” of MCM’s alleged calling campaign. See Dkt 24-1, ¶ 5.

Indeed, Levin Law did not even know of MCM’s existence until after this Complaint was filed.

Id., ¶ 6. Plaintiff’s Opposition failed to refute—or even contest—this evidence.




                                                   -1-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 6 of 21 PageID #: 262




       Instead, Plaintiff offered a Declaration, Dkt. 28-1, attaching unauthenticated transcripts of

calls, Dkts. 28-2; 28-3, showing two outbound telephone calls initiated by MCM, one of which

was transferred to PLG after Plaintiff expressed interest in receiving the paperwork necessary to

file a Camp Lejeune claim. But Plaintiff’s evidence does not show that Levin Law had the

requisite control over MCM’s calling campaign. It also does not show any purported agency

relationship between Levin Law and PLG. The possibility that PLG may refer potential cases to

Levin Law does not demonstrate Levin Law controlled the manner and means of any alleged

calling campaign, which is the touchstone of vicarious liability under the TCPA.

       While the vicarious liability issues alone are fatal, Plaintiff’s Complaint fails for the

additional reason that cell phones are not covered by the DNC rules. Plaintiff points to out-of-

circuit authority finding coverage, but does not address authority in this circuit holding

otherwise. Plaintiff also does not plausibly allege non-conclusory facts demonstrating that she

uses the subject phone number for “residential” purposes or that she registered the number on the

National DNC Registry. Thus, Plaintiff’s DNC claim fails under Rule 12(b)(6).

       For all these reasons, Levin Law should be dismissed from this suit.

II.   PLAINTIFF CANNOT SHOW LEVIN LAW IS VICARIOUSLY LIABLE.

       In her Opposition, Plaintiff argues her claims against Levin Law rise and fall based on

vicarious liability principles, whether considered in the context of personal jurisdiction under

Rule 12(b)(2), Article III standing under Rule 12(b)(1), or on the merits under Rule 12(b)(6). See

Dkt. 28 at 1, 10-11, 14-16. Thus, we begin with vicarious liability issues.

       As shown below, whether considered as a facial challenge (based on the pleadings) or a

factual challenge (based on extrinsic evidence), the standard for vicarious TCPA liability is the




                                                -2-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 7 of 21 PageID #: 263




same.1 The relevant inquiry is whether Levin Law controlled the manner and means of the

solicitation calls (i.e., the telemarketing campaign). Plaintiff does not sufficiently plead vicarious

liability against Levin Law. As a result, Levin Law’s motion to dismiss should be granted based

on its facial jurisdictional challenges under personal jurisdiction and subject matter jurisdiction

and for failure to state a claim under Rule 12(b)(6). The Court need not reach the evidence in

support of a factual jurisdictional challenge but, if it does, the evidence only shows why Levin

Law’s motion should be granted, as discussed further below.

        A. Plaintiff Fails to Plausibly Allege That Levin Law is Vicariously Liable and Thus, Her
           TCPA Claim Fails On its Face.

        Federal courts in the Fourth Circuit and elsewhere uniformly apply common law agency

principles to determine whether a defendant may be held vicariously liable under the TCPA at

the pleadings stage under Rule 12, either for jurisdictional purposes or on the merits. See, e.g.,

Dkt 24 at 12–14.2 While the touchstone of vicarious liability is “control” over an agent, general

control is not sufficient. See Dkt. 24 at 15. Rather, “[A] plaintiff must show that defendant

controlled or had the right to control the purported agent and, more specifically, the manner and



1
  For a facial jurisdictional challenge under Rule 12(b)(2) or 12(b)(1), the Court is generally limited to the
four corners of the complaint and must accept all well-pled (i.e., non-conclusory or speculative)
allegations as true. See Beck v. McDonald, 848 F.3d 262, 270 (4th Cir. 2017). In contrast, where the
defendant makes a factual challenge to personal or subject matter jurisdiction, the Court may consider
extrinsic evidence. See id. (“In this posture, ‘the presumption of truthfulness normally accorded a
complaint’s allegations does not apply.’”) (quoting Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)).
The Court need not rule on a factual challenge if the jurisdictional allegations are insufficient. See, e.g.,
Williams v. Studivent, 2010 WL 4273224, at *4 (M.D.N.C. Oct. 20, 2010), report and rec. adopted, 2011
WL 941493 (Mar. 7, 2011) (granting motion to dismiss for lack of subject matter jurisdiction on facial
challenge). Here, Plaintiff fails to state a vicarious liability claim against Levin Law, either on the face of
the Complaint or as a matter of fact based on the evidence.
2
 See also, e.g., Naiman v. TranzVia LLC, 2017 WL 5992123, at *10–11 (N.D. Cal. Dec. 4, 2017)
(dismissing for lack of personal jurisdiction under 12(b)(2) based solely on the facts alleged); Powers v.
One Techs., LLC, 2021 WL 3519282, at *4–5 (W.D.N.C. Aug. 10, 2021) (dismissing under Rule 12(b)(2)
where plaintiff did not sufficiently allege or present evidence demonstrating that the defendant was
vicariously liable for the calls at issue); Baccari v. Carguard Admin., Inc., 2022 WL 3213839, at *2–3
(E.D. Pa. Aug. 8, 2022) (dismissing based on a 12(b)(1) factual standing challenge, where defendant
demonstrated it did not control the caller) (citing Naiman); Dkt. 24 at 12–13 (citing cases dismissing
under Rules 12(b)(6) and 12(b)(1)).



                                                     -3-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 8 of 21 PageID #: 264




means of the solicitation campaign that was conducted.” Monitronics, 223 F. Supp. 3d at 520

(emphasis added). Courts across the country have uniformly applied this standard in dismissing

vicarious liability claims at the pleadings stage. See, e.g., Dkt. 24 at 12–14.3 This standard

requires that plaintiff show that defendant dictated the functional steps of the call campaign

conducted—e.g., whether, when, and to whom to make the calls at issue, and their content. See,

e.g., Dkt. 24 at 16. See also id. at 17 (citing Jackson v. Caribbean Cruise Line, Inc., 88 F. Supp.

3d 129 (E.D.N.Y. 2015) (holding the power to give “interim instructions” to the caller is the

“hallmark of an agency relationship” under the TCPA)).

        Here, Plaintiff alleges she received telephone solicitation calls from MCM and that MCM

embarked on a telemarketing campaign in order to solicit her for the Camp Lejeune litigation.

Dkt. 1, ¶¶ 20, 25, 27, 28. But she does not allege telephone solicitations from PLG (nor does

Plaintiff dispute in her Opposition that PLG’s calls were not telephone solicitations). See Dkt. 24

at 17 n.6. Rather, Plaintiff alleges that PLG called her to follow-up on her request to receive the

“necessary paperwork” to file a Camp Lejeune claim. Id. Thus, the question is whether Levin

Law controlled “the manner and means of the solicitation campaign that was conducted” by

MCM and specifically, whether Levin Law controlled when MCM made calls, how it made

calls, to whom it made calls and the content of those calls. Monitronics, 223 F. Supp. 3d at 520.

        Plaintiff does not allege in her Complaint, or even argue in her brief, that Levin Law


3
 See also, e.g., Doane v. Benefytt Tech., Inc., 2023 WL 2465628, at *9 (D. Mass. Mar. 10, 2023); Rogers
v. Assurance IQ, 2023 WL 2646468, at *5 (W.D. Wash. Mar. 27, 2023); Smith v. Liberty Mut. Ins. Co.,
2021 WL 1581017, at *5 (D. Mass. Apr. 22, 2021); Smith v. Vision Solar, LLC, 2020 WL. 5632653, at *3
(E.D. Pa. Sept. 21, 2020); Doyle v. GoHealth LLC, 2023 WL 3984951, at *4 (D.N.J. Mar. 30, 2023);
Smith v. Direct Building Supplies, LLC, 2021 WL 4623275, at *3 (E.D. Pa. Pct. 7, 2021); Rogers v.
Postmates Inc., 2020 WL 3869191, at *4 (N.D. Cal. July 9, 2020) (dismissing where plaintiff did not
allege defendant “exercised any control over the ‘manner and means’ in which [caller] executed the
campaign”); Cunningham v. Daybreak Solar Power, LLC, 2023 WL 3985245, at *3 (N.D. Tex. June 13,
2023) (To sufficiently plead vicarious liability in a TCPA case and avoid dismissal, “the principal must
have ‘both the right: (1) to assign the agent's task; and (2) to control the means and details of the process
by which the agent will accomplish that task.’”) (quoting Callier v. SunPath Ltd., 2020 WL 10285659, at
*3 (W.D. Tex. Aug. 10, 2020)).



                                                    -4-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 9 of 21 PageID #: 265




controlled any telephonic outreach conducted by MCM. See Dkt. 28 at 11 (conceding that

“MCM’s forum-based contacts give rise to this litigation”). This is because Plaintiff cannot do

so. Because Plaintiff cannot demonstrate that Levin Law is vicariously liable for MCM’s

telemarketing campaign, Levin Law’s motion to dismiss should be granted on this basis alone.

       Since Plaintiff cannot show that Levin Law is vicariously liable for MCM’s

telemarketing campaign, Plaintiff urges this Court to apply a different standard—namely, that

Levin Law is vicariously liable because “[PLG] acted as an agent of Levin Law” and “MCM

acted as an agent of [PLG].” Dkt. 28 at 10-11, 14-15. This is a red herring. Plaintiff’s attempt to

redefine the standard should be flatly rejected. Even if this was the correct standard, Plaintiff’s

vicarious liability arguments still fail, as explained below.

       Plaintiff argues agency with PLG by pointing to a representation agreement she

purportedly received from PLG in which PLG is listed as Levin Law’s “Associate Counsel” and

which allegedly states that they would share in any fees awarded. Dkt. 1, ¶ 30. Even if true, the

fact that PLG and Levin Law may act as co-counsel does not show that Levin Law had control

over the “manner and means of the solicitation campaign” by the alleged telemarketer in this

case (MCM).

       Even if PLG could be considered the “telemarketer” (despite Plaintiff’s pleading

otherwise), Plaintiff does not allege that Levin Law controlled or provided any instructions to

PLG whatsoever on any telephonic solicitation campaign for potential Camp Lejeune claimants.

A mere contract with Levin Law’s name on it does not show an agency relationship, let alone an

agency relationship in connection with telephonic outreach. See, e.g., Doane, 2023 WL 2465628

at *9 (dismissing where defendant’s name on a health insurance application provided to plaintiff

by the caller did not “plausibly suggest that defendant exercised control over any of the callers”);

Jackson, 88 F. Supp. 3d at 138 (“[T]he existence of a contract between [the defendant] and



                                                 -5-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 10 of 21 PageID #: 266




[telemarketer]—even one that imposes certain constraints on [telemarketer]—does not

necessarily mean that [defendant] had the power to give “interim instructions’ to [telemarketer],

the hallmark of an agency relationship.”) (citing Restatement (Third) of Agency § 1.01 cmt.

f(1)).

         Because Plaintiff has not alleged an agency relationship with PLG, Plaintiff’s “subagent”

argument concerning MCM necessarily fails. If there is no agent, then there can be no subagent.

Moreover, Plaintiff fails to show that Levin Law gave PLG permission to hire a “subagent” for

telephone campaigns. See Smith v. State Farm Mut. Auto. Ins. Co., 30 F. Supp. 3d 765, 777

(N.D. Ill. 2014) (dismissing case on sub-agent theory where “the Consolidated Complaint fails to

allege that Nationwide or Farmers authorized its insurance agents to appoint [subagent] as its

subagent or coagent.”); Restatement (Third) of Agency § 3.15 (2006) (an agent must have actual

or apparent authority to appoint a subagent). Cf. Cobb v. Postmates, Inc., 2021 WL 2480109, at

*3 (N.D. Ga. Mar. 8, 2021) (permitting amendment on agency and subagency where plaintiff

alleged that defendant hired agent “to sell its services using telemarketing calls” and

“authoriz[ed] the script and provid[ed] information on whom to call” and then “hired [a] call

center to make the call”).

         In any event, Plaintiff fails to plausibly allege that Levin Law had any type of authority

whatsoever over MCM, and certainly no authority to control the manner and means of MCM’s

telemarketing campaign or the power to give interim instructions on any such campaign. See,

e.g., Melito v. Am. Eagle Outfitters, Inc., 2015 WL 7736547, at *5–7 (S.D.N.Y. Nov. 30, 2015)

(dismissing where the plaintiff failed to plausibly allege the defendant was vicariously liable for

texts sent by an alleged subagent, where the plaintiff did not plausibly allege facts suggesting the

alleged agent had control over the manner and means of the calling campaign by the alleged

subagent); Rogers, 2020 WL 1032153, at *3–5 (dismissing where plaintiff alleged defendant



                                                 -6-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 11 of 21 PageID #: 267




contracted with a third party or its “sub-agents” to place calls but did not otherwise plead facts

suggesting defendant “exercised any control over the ‘manner and means’ in which [the

telemarketer] executed the [alleged calling] campaign on its behalf”); Dkt. 24 at 17 (citing

Jackson). This Court should rule similarly.4

        Plaintiff’s cited authorities on this issue (see Dkt. 28 at 9-10) are readily distinguishable.

In Bradley v. DentalPlans.com, for example, the court found actual authority sufficiently pled

where plaintiff alleged that defendant had (1) “the right to assess and audit [agents]’ marketing

practices and communications,” (2) “the right to terminate its relationship with [agent] at any

time for any perceived breach of contract,” and (3) “the right to ‘provide interim instructions’ to

[agent], ‘including with regard to the specifics of [agents’] telemarketing practices.’” 617 F.

Supp. 3d 326, 339 (D. Md. 2022). None of these allegations are pled here.

        Further, in Bilek v. Nat’l Cong. of Emps., Inc., the court found actual authority existed

where plaintiff alleged that the agent was conferred authority by the principal to “administer the

sales and solicitation of sales of the [principals]’ products,” that the agent was authorized by the

principal to conduct telephonic sales by contracting with subagents, and that the principal had

actual control over the agent’s conduct. 470 F. Supp. 3d 857, 861 (N.D. Ill. 2020). Again, no

such facts are alleged here.

        In Mey v. Matrix Warranty Solutions, Inc., et al., this Court found that “plaintiff has

provided sufficient facts for this Court to reasonably infer that the Matrix Defendants are

directly responsible for the telemarketing calls or that the calls were made by a vendor under the

Matrix Defendants control.” 2021 WL 11421819, at *6 (N.D.W. Va. Sept. 2, 2021) (emphasis

added). But here, there are no allegations in the Complaint demonstrating that the alleged


4
 Plaintiff also relies on the unauthenticated call transcripts in support of her Rule 12(b)(6) arguments. See
Dkt. 28 at 15. This is improper on a Rule 12(b)(6) motion.



                                                    -7-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 12 of 21 PageID #: 268




solicitation calls here were made by a vendor under Levin Law’s control or that Levin Law had

control over the solicitation campaign conducted.5

                                                   ***

        Plaintiff has not plausibly alleged, based on the allegations on the face of the Complaint,

that Levin Law is vicariously liable. On these grounds alone, Levin Law should be dismissed for

lack of personal and subject matter jurisdiction and for failure to state a claim for relief. The

Court need not consider the parties’ extrinsic evidence, but if it does, the evidence shows that

Plaintiff’s claim against Levin Law still fails.

        B. Plaintiff Does Not Meet her Evidentiary Burden to Rebut Levin Law’s Evidence in
           Support of its Factual Challenges to Personal Jurisdiction and Article III Standing.

        Even if the Court reaches the factual jurisdictional challenges in the Motion, which

permits extrinsic evidence, the evidence before the Court shows that Levin Law had no control

over the manner and means of the solicitation campaign that was conducted.

        It is well-established that, once a personal jurisdictional challenge is raised by a

defendant, it is Plaintiff’s burden to establish a prima facie case of jurisdiction “by pointing to

affidavits or other relevant evidence.” Wince v. Easterbrooke Cellular Corp., 681 F. Supp. 2d

688, 691 (N.D.W. Va. 2010) (Bailey, J.). Thus, “when, as here, evidence refuting the exercise of

personal jurisdiction is submitted, the burden shifts to plaintiff to come forward with evidence on

the issue of personal jurisdiction and further eliminates the inferences in favor of plaintiff.”

Blaniar v. Sw. Energy Co., 2020 WL 12654265, at *4 (N.D.W. Va. Oct. 26, 2020) (Bailey, J.).

The same is true for a factual challenge to the Court’s federal subject matter jurisdiction based on



5
  Plaintiff cites this Court’s subsequent summary judgment decision in Monitronics, where it found there
was sufficient evidence of the defendant’s right to control the manner and means of the calls for vicarious
liability. See Dkt. 28 at 14 (citing 2019 WL 7835630 (N.D. W. Va. Apr. 3, 2019)). The primary issue the
Court must decide here is whether Plaintiff has sufficiently plead facts in her Complaint demonstrating
Levin Law’s control over the solicitation calls. She is not entitled to any discovery to help her do so.



                                                   -8-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 13 of 21 PageID #: 269




the plaintiff’s lack of standing—i.e., Plaintiff cannot simply rest on conclusory allegations in her

Complaint. See, e.g., Dkt. 24 at 5 (citing Beck).

        Plaintiff submits a declaration, in which she describes the two calls she allegedly received

from a telemarketing company and attaches two call transcripts that were purportedly

“transcribed by a[n] [unidentified] third-party vendor.”6 See Dkt. 28-1 ¶¶ 14. Plaintiff argues that

the call transcripts demonstrate that Levin Law “rubberstamps all Camp Lejeune referrals [PLG]

furnishes.” Dkt. 28 at 15. Though she attaches a 24-page call transcript, Plaintiff relies on a

single offhanded comment in which “Dwaine” from PLG stated, “[W]hen I submit this to our

[unnamed] partner law firm, they won’t even flinch at it” and “you won’t have to worry about it

getting accepted.”7 Dkt. 28-3, at 19.

        Once again, Plaintiff’s argument misses the mark. Even if this stray remark can be given

any credence, the fact that Levin Law might accept a referral from PLG does not demonstrate

that Levin Law had control over the manner and means of the solicitation campaign that was

conducted, as Plaintiff must show. Plaintiff’s evidence shows no connection between Levin Law

and the telemarketer who initiated the call to Plaintiff, let alone the requisite control by Levin

Law over the calling campaign. The Declaration of Mark Proctor—which Plaintiff does not

contest—affirms that Levin Law did not even know of telemarketer MCM’s existence until the

filing of this Complaint. Dkt. 24-1, ¶ 6. Simply put, Plaintiff’s evidence is irrelevant because it

does not show that Levin Law knew of or controlled any aspect of the telemarketing campaign.



6
 The call transcripts should be stricken because they are unauthenticated and constitute inadmissible
hearsay. See also Lipscomb v. Techs., Servs., & Info., Inc., 2011 WL 691605, at *6–7 (D. Md. Feb. 18,
2011) (plaintiff’s evidence insufficient for a Rule 12(b)(1) motion where it was “rife with inadmissible
hearsay and conclusory statements”); Shaolian-Tehrani v. Khatami, 2008 WL 1790386, at *2 (S.D.N.Y.
Apr. 21, 2008) (hearsay cannot be used to establish a prima facie case of personal jurisdiction).
7
  Far from “rubberstamping” potential referrals, PLG told Plaintiff “not to get anybody excited” because
law firms “do a little cherry picking” and that if an intake form is not “spotless,” the law firms “don’t
even take it.” Dkt. 28-3, at 21.



                                                   -9-
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 14 of 21 PageID #: 270




If Plaintiff’s theory were correct, any co-counsel arrangement resulting from case referrals would

subject law firms to vicarious liability under the TCPA. That is absurd. That is also not the law.

        Moreover, PLG’s evidence refutes any agency relationship with MCM. According to the

Declaration of Greg March, PLG “contract[ed] with Elite MG LLC (‘Elite’)” “to perform

marketing services such as internet and social media campaigns, not unsolicited telephone calls.”

Dkt. 22-1, ¶ 9. Elite then “contracted with a third-party marketing agency, MCM Hustle LLC

(‘MCM’)” but “to provide only ‘Social-Digital Media Marketing’ with respect to Camp Lejeune

claims, not telephonic marketing.” Id. ¶ 13. Plaintiff does not contest this declaration either.

Thus, the evidence does not show an agency relationship between PLG and MCM concerning

any calling campaign.

        In Johansen v. HomeAdvisor, Inc., for example, the court found no agency relationship

between HomeAdvisor, an alleged principal, and Lead House, an alleged subagent, where

“HomeAdvisor submitted two unrefuted declarations showing that Lead House, who made the

offending calls, was not acting or purporting to act as HomeAdvisor’s agent.” 218 F. Supp. 3d

577, 585 (S.D. Ohio 2016). HomeAdvisor’s unrefuted declarations showed that “the company

neither knew nor should have known that Lead House violated the TCPA.” Id. at 585-86.8

Similarly, here, unrefuted declarations from Levin Law and PLG show no agency relationship in

connection with the calling campaign at issue, let alone that Levin Law knew or should have

known of any purported TCPA violations.

        Plaintiff’s purported evidence also does not show that Levin Law controlled the manner

and means of any solicitation campaign by PLG. It does not show that Levin Law provided any

instructions to PLG whatsoever on telephonic solicitation of potential Camp Lejeune claimants.


8
 This Court has found Johanson’s subagency analysis “instructive” in determining agency. In re:
Monitronics Int'l, Inc., Tel. Consumer Prot. Act Litig., 223 F. Supp. 3d 514, 526 (N.D.W. Va. 2016).



                                                 - 10 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 15 of 21 PageID #: 271




To the contrary, the transcript shows that PLG received a call from a telemarketer that “work[s]

with different law firm[s],” Dkt. 28-2, at 4, after Plaintiff expressed interest in receiving further

information and agreed to be transferred to a law firm. Dkt. 28-3, at 3–4. It ends there since

Levin Law did not receive (or accept) any information concerning Plaintiff or know of her

existence. Proctor Declaration, Dkt. 24-1, ¶ 7.

       Plaintiff’s evidence fails for yet another reason. A stray remark from a PLG

representative cannot be used to show an agency relationship between PLG and Levin Law

because the acts of an alleged agent cannot create an agency relationship with the principal. See,

e.g., Monitronics, 223 F. Supp. 3d at 525 (apparent authority “cannot be established merely by

showing that [the alleged agent] claimed authority or purported to exercise it” but rather “it is

only established by proof of something said or done by the [alleged principal], on which [the

plaintiff] reasonably relied”); Naiman, 2017 WL 5992123, at *7 (“To state a plausible [TCPA]

claim under an apparent authority theory [of vicarious liability], plaintiff must allege facts

showing that [defendant] did or said something sufficient to create a reasonable belief that [the

agent] had authority to act on behalf of [defendant]” and not by the actions of the alleged agent)

(citing, inter alia, Restatement (Third) of Agency, § 2.01).

       In sum, Plaintiff failed to meet her evidentiary burden to defeat Levin Law’s factual

jurisdictional challenges. Therefore, should this Court consider the parties’ extrinsic evidence,

Plaintiff’s TCPA claim against Levin Law should be dismissed under Rules 12(b)(2) and

12(b)(1). See Jackson v. Genuine Data Servs., LLC, 2022 WL 256281, at *7 (E.D. Va. Jan. 26,

2022) (dismissing on personal jurisdiction grounds where plaintiff failed to rebut defendant’s

evidence with a factual showing).




                                                  - 11 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 16 of 21 PageID #: 272




III. THERE IS NO OTHER BASIS FOR PERSONAL JURISDICTION OVER LEVIN
     LAW.

          Plaintiff argues that specific personal jurisdiction9 exists separate from her unsupported

agency theories because Levin Law purposefully availed10 itself of the forum state and because

there is a sufficient nexus to Levin Law’s forum-based activities. Specifically, Plaintiff argues

that (1) Levin Law agreed to represent Plaintiff in the Camp Lejeune litigation and (2) the Court

can “infer” Levin Law’s contacts with the forum extend beyond Plaintiff. See Dkt. 28 at 7–9.

Neither argument has merit.

          First, Levin Law never agreed to represent Plaintiff. Levin Law never communicated

with Plaintiff, nor did it ever receive her information in connection with potential representation

in the Camp Lejeune litigation. See Proctor Decl., Dkt. 24-1, ¶ 7. Not even Plaintiff’s purported

evidence shows that Levin Law agreed to represent her, as none of those communications are

with Levin Law. And Plaintiff does not allege a signed agreement because one does not exist.

See Dkt. 1, ¶ 30 (agreement “contemplated that it would be countersigned by both Levin Law

and [PLG]”).

          Second, Plaintiff argues that the Court can “reasonably infer that Levin Law’s contacts

with the State extend beyond Mey” and takes issue with facts not presented in Proctor’s

Declaration. Dkt. 28 at 8. But Plaintiff ignores her burden. “When, as here, evidence refuting the

exercise of personal jurisdiction is submitted, the burden shifts to plaintiff to come forward with

evidence on the issue of personal jurisdiction and further eliminates the inferences in favor of

plaintiff.” Blaniar, 2020 WL 12654265, at *4 (Bailey, J.). As discussed above, Plaintiff presents



9
    Plaintiff does not dispute that this Court lacks general jurisdiction over Levin Law.
10
  This Court has held that, in a case sounding in tort, the test is “purposeful direction,” not “availment.”
Dkt. 24 at 8 (citing Mey v. All Access Telecom, Inc., No. 5:19-CV-00237-JPB, 2021 WL 8892199, at *3
(N.D.W. Va. Apr. 23, 2021)).



                                                     - 12 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 17 of 21 PageID #: 273




no contrary evidence and mere speculation cannot overcome Levin Law’s factual challenge to

personal jurisdiction.

       The cases Plaintiff cites are inapposite. Unlike here, in Johnson v. Diamond Shine, Inc.,

the parties entered into an agreement and performed under it for several years. See 890 F. Supp.

2d 763, 766–67 (W.D. Ky. 2012). The Johnson court found defendant purposefully availed itself

of conducting business in Kentucky when defendant’s CEO (1) traveled to Kentucky to negotiate

and form the contract and (2) sent payments under the contract to Kentucky for 14 years. Id. at

770–71. No such facts are present here. Further, in Southwest Research Inst. v. California

Fueling, LLC, the court granted defendant’s motion to dismiss on personal jurisdiction grounds,

even where the parties executed a contract. See 509 F. Supp. 3d 656, 668 (W.D. Tex. 2020). See

also New Venture Holdings, L.L.C. v. DeVito Verdi, Inc., 376 F. Supp. 3d 683, 693 (E.D. Va.

2019) (“Because the contract does not invoke Virginia law and was not executed in the state, it

does not alone constitute a sufficient basis on which to exercise jurisdiction.”).

       In short, Plaintiff fails to make a prima facie showing, through competent evidence, that

this Court has specific jurisdiction over Levin Law, warranting its dismissal under Rule 12(b)(2).

IV. PLAINTIFF LACKS STANDING TO PURSUE HER CLAIM AGAINST LEVIN LAW.

       The Opposition ignores the directly on-point legal authority on Article III standing in

TCPA cases cited in the Motion, demonstrating that Plaintiff’s alleged injuries are not fairly

traceable to Levin Law’s conduct. See Dkt 24 at 11 (citing Baccari v. Carguard Admin., Inc.,

2022 WL 3213839 (E.D. Pa. Aug. 8, 2022)). In Baccari, the TCPA defendant raised a factual

challenge to plaintiff’s standing based on a lack of control over an alleged agent. Id. at *3. Here,

both Levin Law and PLG’s uncontroverted evidence show Plaintiff’s purported harm from

MCM’s telemarketing activities is not fairly traceable to Levin Law. See Section II, supra.

       Plaintiff’s cited authorities are inapposite. In Kurimski v. Shell Oil Co., which is not a



                                                - 13 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 18 of 21 PageID #: 274




TCPA case, the Court found that the declaration submitted by the defendant challenging

jurisdiction did not refute the specific factual allegations in the complaint suggesting that

defendant maintained indirect control over an agent. See 570 F. Supp. 3d 1228, 1241 (S.D. Fla.

2021). State Farm v. At Home Auto Glass, LLC., is also inapplicable because there, defendant

“present[ed] [only] a facial attack on subject matter jurisdiction,” not a factual one. 2021 WL

6118102, at *2 (M.D. Fla. Dec. 27, 2021). Miholich v. Senior Life Ins. Co. is also

distinguishable, as the plaintiff there responded to defendant’s factual challenge by submitting

factual evidence refuting defendant’s declaration. 2022 WL 410945, at *4 (S.D. Cal. Feb. 10,

2022). Here, Plaintiff has failed to make an evidentiary showing. Underwood v. IFA Holdings,

LLC, 2022 WL 2307738, at *3 (N.D. Ala. June 27, 2022) is inapposite because defendant’s

evidence did not have any bearing on whether it was not responsible, directly or indirectly, for

the source of the harm—the placement of the call in the first place. None of these cases can

avoid dismissal on standing grounds under Rule 12(b)(1).

V.   PLAINTIFF’S TCPA CLAIM FAILS FOR ADDITIONAL REASONS.

       A. Cell Phones Are Not Subject to the TCPA’s DNC Registry Provisions.

       Plaintiff accuses Defendant of ignoring authority outside of the Fourth Circuit on whether

cell phones are subject to the TCPA’s DNC provisions, yet Plaintiff ignores authority in this

Circuit on this issue. See Dkt 24 at 18–20 (citing Gaker v. Q3M Ins. Sols., 2023 WL 2472649

(W.D.N.C. Feb. 8, 2023)). Plaintiff asserts that this Court has “consistently” treated calls to cell

phones as actionable under the TCPA’s DNC provisions, citing Matrix Warranty Sols., Inc. See

Dkt. 28 at 17. But the issue was not raised or addressed by this Court in Matrix. See 2021 WL

11421816 at *6. The Gaker court, however, did thoroughly analyze the issue. It acknowledged a

split of authority on the issue, 2023 WL 2472649, at *2, but held that cell phones are not covered

by the DNC provisions based on the TCPA’s plain language. Since Gaker’s reasoning is



                                                - 14 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 19 of 21 PageID #: 275




compelling, and supported by the statutory language drafted by Congress, this Court should

follow Gaker.

       B. Plaintiff Fails to Allege that She Used Her Phone for Residential Purposes.

       Plaintiff argues that “it is sufficient to allege that the telephone number was used for a

residential purpose and placed on the DNC registry.” Plaintiff cites a smattering of out of Circuit

cases in support of this proposition (Dkt. 28 at 18), but fails to address authority from this Circuit

holding that allegations, much like those at issue here, failed to state a claim. See Dkt. 24 at 21

(citing Morgan v. U.S. Xpress, Inc., 2018 WL 3580775 (W.D. Va. July 25, 2018)). The Morgan

court held that similar allegations were “not factual allegations, but legal terms drawn from the

operative statute.” Id. at *2. Morgan, and the balance of authorities cited in the Motion which

Plaintiff failed to address (Dkt. 24 at 21), compels the dismissal of her claim on this basis.

       C. Plaintiff Fails to Allege That She Registered Her Phone on the DNC Registry.

       Plaintiff does not address any of Defendant’s authority on this issue and simply argues

that her allegation that the number at issue is “listed on the National Do-Not-Call Registry”

suffices to show that Plaintiff personally registered it. See Dkt. 28 at 19. Plaintiff does not

dispute, or attempt to distinguish, the many authorities requiring a plaintiff to affirmatively and

specifically allege that they personally placed their number on the DNC registry. See Dkt. 24 at

22–24. Instead, Plaintiff asks the Court to “infer that Mey registered that telephone number

herself.” Dkt. 28 at 19. The Court should decline Plaintiff’s invitation.

VI. CONCLUSION

     For all these reasons, the Court should grant Levin Law’s Motion to Dismiss pursuant to

Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), and/or 12(b)(6) with prejudice.




                                                - 15 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 20 of 21 PageID #: 276




This the 29th day of June, 2023


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                                         - 16 -
Case 5:23-cv-00046-JPB Document 31 Filed 06/29/23 Page 21 of 21 PageID #: 277




                               CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed with the Clerk of the Court using the

CM/ECF system which will send notice of such filing to the following registered CM/ECF users:

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                                              - 17 -
